                           MEMORANDUM OPINION
{¶ 1} On January 30, 2006, appellant, Michael J. Dodd, filed a notice of appeal from a December 19, 2005 judgment of the Lake County Court of Common Pleas. Thus, appellant's notice of appeal was filed forty-two days after the judgment being appealed was issued by the trial court.
  {¶ 2} App.R. 4(A) states:
  {¶ 3} "A party shall file a notice of appeal required by App.R.3 within thirty days of the later of entry of the judgment or order appealed or, in a civil case, service of the notice of judgment and its entry if service is not made on the party within the three day period in rule 58(B) of the Ohio Rules of Procedure."
  {¶ 4} App.R. 5(A) provides, in relevant part:
  {¶ 5} "(1) After the expiration of the thirty day period provided by App.R. 4(A) for the filing of a notice of appeal as of right, an appeal may be taken by a defendant with leave of the court to which the appeal is taken in the following classes of cases:
  {¶ 6} "(a) Criminal proceedings;
  {¶ 7} "(b) Delinquency proceedings; and
  {¶ 8} "(c) Serious youthful offender proceedings.
  {¶ 9} "(2) A motion for leave to appeal shall be filed with the court of appeals and shall set forth the reasons for the failure of the appellant to perfect an appeal as of right."
  {¶ 10} In the present case, appellant has neither complied with the thirty-day rule set forth in App.R. 4(A) nor sought leave to appeal. Thus, this court is without jurisdiction to consider this appeal.
  {¶ 11} Based upon the foregoing analysis, this appeal is hereby sua sponte dismissed as untimely.
  {¶ 12} Appeal dismissed.
O'Neill, J., O'Toole, J., concur.